     Case: 1:19-cv-03613 Document #: 33 Filed: 10/28/19 Page 1 of 2 PageID #:93




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


SYMBOLOGY INNOVATIONS, LLC,                     )
                                                )
                       Plaintiff,               )
                                                )   C.A. No. 1:19-cv-03613
       v.                                       )   Judge: Hon. Steven C. Seeger
                                                )
ESSENTRA COMPONENTS INC.,                       )
                                                )
                       Defendant.               )


                        NOTICE OF DISMISSAL WITH PREJUDICE

       TO THIS COURT AND ATTORNEYS OF RECORD Plaintiff Symbology Innovations,

LLC and Essentra Components Inc., by and through the undersigned counsel and pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, dismiss the Complaint filed by

Plaintiff in the above captioned action WITH PREJUDICE. Each party shall bear its own

costs, expenses, and attorneys’ fees.




Dated: October 28, 2019                        Respectfully submitted,


/s/_ Bradley C. Graveline                       /s/ Isaac Rabicoff
Bradley C. Graveline                            Isaac Rabicoff
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     Case: 1:19-cv-03613 Document #: 33 Filed: 10/28/19 Page 2 of 2 PageID #:94




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                                                Attorney(s) for Plaintiff Symbology
 Attorney(s) for Defendant Essentra             Innovations, LLC.
 Components Inc.




                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 28, 2019, I electronically filed the above documents with
the Clerk of Court using CM/ECF which will send electronic notification of such filings to all
registered counsel.

                                                     /s/ Isaac Rabicoff
                                                     Isaac Rabicoff




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